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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                   No. CR S-07-0088 FCD GGH P

12           vs.

13   SABAS MIRAMONTES,

14                  Movant.                       ORDER

15                                       /

16                  Movant has filed a 28 U.S.C. § 2255 motion. The matter was referred to a United

17   States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

18                  On December 20, 2010, the magistrate judge filed findings and recommendations

19   herein which were served on all parties and which contained notice to all parties that any

20   objections to the findings and recommendations were to be filed within fourteen days. Movant

21   has filed objections to the findings and recommendations.

22                  In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule

23   304, this court has conducted a de novo review of this case. Having carefully reviewed the

24   entire file, the court finds the findings and recommendations to be supported by the record and

25   by proper analysis.

26   /////

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 1                   Accordingly, IT IS HEREBY ORDERED that:

 2                   1. The findings and recommendations filed December 30, 2010, are adopted in

 3   full; and

 4                   2. Miramontes’ § 2255 motion, or in the alternative, his motion under § 3582(c),

 5   is denied.

 6   DATED: March 18, 2011.

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                                               _______________________________________
 8                                             FRANK C. DAMRELL, JR.
                                               UNITED STATES DISTRICT JUDGE
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